           Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 1 of 33



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRANDON M. WILBORN,                        :
                                           :
              Plaintiff,                   :
                                           :
      v.                                   :           Civil Action No. 18-3597
                                           :
JEFFERSON B. SESSIONS III,                 :
Attorney General of the United States,     :
                                           :
THOMAS E. BRANDON,                         :
Acting Director, Bureau of Alcohol,        :
Tobacco, Firearms and Explosives,          :
                                           :
CHRISTOPHER WRAY,                          :
Director of the Federal Bureau             :
of Investigation,                          :
                                           :
    and                                    :
                                           :
UNITED STATES OF AMERICA,                  :
                                           :
              Defendants.                  :

                                       ORDER


      AND NOW, this ________ day of ________________ 2018, upon consideration

of plaintiff’s motion for a preliminary injunction (Docket No. 2), defendants’

opposition memorandum, and any reply in further support of the motion, it is

ORDERED that the motion is DENIED.




                                               ________________________________
                                               HON. JEFFREY L. SCHMEHL
                                               United States District Judge
           Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 2 of 33



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRANDON M. WILBORN,                      :
                                         :
              Plaintiff,                 :
                                         :
      v.                                 :         Civil Action No. 18-3597
                                         :
JEFFERSON B. SESSIONS III,               :
Attorney General of the United States,   :
                                         :
THOMAS E. BRANDON,                       :
Acting Director, Bureau of Alcohol,      :
Tobacco, Firearms and Explosives,        :
                                         :
CHRISTOPHER WRAY,                        :
Director of the Federal Bureau           :
of Investigation,                        :
                                         :
    and                                  :
                                         :
UNITED STATES OF AMERICA,                :
                                         :
              Defendants.                :




       DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
       PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
               Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 3 of 33



                                                  TABLE OF CONTENTS


TABLE OF AUTHORITIES ..................................................................................................... ii
INTRODUCTION ....................................................................................................................... 1
BACKGROUND .......................................................................................................................... 2
I.      Statutory Background ...................................................................................................... 2
II.     Factual and Procedural Background ............................................................................ 4
LEGAL STANDARD .................................................................................................................. 6
ARGUMENT ................................................................................................................................ 7
I.        Wilborn Is Not Likely to Succeed on the Merits of His Second Amendment
          Claim against the Federal Defendants ...................................................................... 7
          A.         The Second Amendment does not guarantee possession of firearms to
                     persons with a demonstrated history of mental illness and Section
                     922(g)(4) does not burden conduct protected by the Second Amendment
                     ................................................................................................................................. 8
          B.         Section 922(g)(4) also satisfies scrutiny under controlling precedent .. 10
                    1.    Section 922(g)(4) serves important and compelling government
                            interests .................................................................................................... 11
                    2.    Section 922(g)(4) substantially relates to protecting public safety . 12
II.       Wilborn Is Not Likely to Succeed on the Merits of His Fifth Amendment Due
          Process Claim ................................................................................................................ 18
III. Wilborn Cannot Demonstrate a Likelihood of Irreparable Harm ........................ 22
IV. Granting a Preliminary Injunction Would Harm Defendants, Third Parties,
    and the Public Interest ................................................................................................... 24
CONCLUSION .......................................................................................................................... 26




                                                                          i
            Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 4 of 33



                                        TABLE OF AUTHORITIES


CASES                                                                                                          PAGE(S)

Acierno v. New Castle County,
  40 F.3d 645 (3d Cir. 1994)........................................................................................ 25
Adams v. Freedom Forge Corp.,
  204 F.3d 475 (3d Cir. 2000)...................................................................................... 22
Barrett v. United States,
  423 U.S. 212 (1976) ............................................................................................ 13, 24
Bell v. United States,
  No. 13-5533, 2013 WL 5763219 (E.D. Pa. Oct. 24, 2013) ................................. 18, 19
Binderup v. Att’y Gen. of the U.S.,
  836 F.3d 336 (3d Cir. 2016).................................................................................. 7, 11
Black v. Snow,
  272 F. Supp. 2d 21 (D.D.C. 2003) ...................................................................... 19, 20
City of Los Angeles v. Lyons,
  461 U.S. 95 (1983) .................................................................................................... 22
Clark v. Jeter,
  486 U.S. 456 (1988) .................................................................................................. 11
Conn. Dep’t of Pub. Safety v. Doe,
  538 U.S. 1 (2003) ................................................................................................ 20, 21
Connection Distrib. Co. v. Reno,
  154 F.3d 281 (6th Cir. 1998) .................................................................................... 24
Cornish v. Dudas,
  540 F. Supp. 2d 61 (D.D.C. 2008) ............................................................................ 24
District of Columbia v. Heller,
  554 U.S. 570 (2008) .......................................................................................... passim
Del. Valley Fin. Group, Inc. v. Principal Life Ins. Co.,
  640 F. Supp. 2d 603 (E.D. Pa. 2009) .......................................................................... 6
Dickerson v. New Banner Inst.,
  460 U.S. 103 (1983) .......................................................................................... passim
Drake v. Filko,
  724 F.3d 426 (3d Cir. 2013)................................................................................ 12, 15
Elrod v. Burns,
  427 U.S. 347 (1976) .................................................................................................. 23
Estelle v. Smith,
  451 U.S. 454 (1981) .................................................................................................. 15
Ezell v. Chicago,
  651 F.3d 684 (7th Cir. 2011) .................................................................................... 23
Fla. Bar v. Went For It, Inc.,
  515 U.S. 618 (1995) .................................................................................................. 15



                                                             ii
            Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 5 of 33



Franklin v. Sessions,
  291 F. Supp. 3d 705 (W.D. Pa. 2017) ............................................................. 2, 21, 22
Hohe v. Casey,
  868 F.2d 69 (3d Cir. 1989)........................................................................................ 23
Huddleston v. United States,
  415 U.S. 814 (1974) ............................................................................................ 13, 24
Instant Air Freight Co. v. C.F. Air Freight, Inc.,
  882 F.2d 797 (3d Cir. 1989)........................................................................................ 6
Jeffries v. Sessions,
  278 F. Supp. 3d 831 (E.D. Pa. 2017) ........................................................................ 21
Kachalsky v. Cty. of Westchester,
  701 F.3d 81 (2d Cir. 2012)........................................................................................ 13
Keyes v. Lynch,
  195 F. Supp. 3d 702 (M.D. Pa. 2016) ....................................................................... 19
Kos Pharms. Inc. v. Andrx Corp.,
  369 F.3d 700 (3d Cir. 2004)........................................................................................ 6
Liberty Lincoln-Mercury, Inc. v. Ford Motor Co.,
  562 F.3d 553 (3d Cir. 2009)...................................................................................... 22
McDonald v. City of Chicago,
  561 U.S. 742 (2010) .................................................................................................... 8
Nken v. Holder,
  556 U.S. 418 (2009) .................................................................................................. 25
Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck
  Consumer Pharm. Co.,
  290 F.3d 578 (3d Cir. 2002)...................................................................................... 22
NutraSweet Co. v. Vit-Mar Enters., Inc.,
  176 F.3d 151 (3d Cir. 1999)...................................................................................... 23
Pontarelli v. U.S. Dep’t of Treasury,
  285 F.3d 216 (3d Cir. 2002)...................................................................................... 14
Schall v. Martin,
  467 U.S. 253 (1984) ........................................................................................ 1, 11, 12
Sessions v. Binderup,
  No. 16-847, 2017 WL 2722469 (U.S. Jun. 26, 2017) ................................................. 7
Simpson v. Sessions,
  No. 16-1334, 2017 WL 1910141 (E.D. Pa. May 10, 2017) ....................................... 20
Turner Broad. Sys., Inc. v. FCC,
  520 U.S. 180 (1997) .................................................................................................. 12
Turner Broad. Sys., Inc. v. FCC,
  512 U.S. 622 (1994) .................................................................................................. 13
Tyler v. Hillsdale Cty. Sheriff’s Dep’t,
  837 F.3d 678 (6th Cir. 2016) .............................................................................. 12, 13
United States v. Bean,
  537 U.S. 71 (2002) .................................................................................................... 14



                                                            iii
             Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 6 of 33



United States v. Chamberlain,
 159 F.3d 656 (1st Cir. 1998)..................................................................................... 14
United States v. Chapman,
 666 F.3d 220 (4th Cir. 2012) .................................................................................... 18
United States v. Giardina,
 861 F.2d 1334 (5th Cir. 1988) .................................................................................. 22
United States v. Hansel,
 474 F.2d 1120 (8th Cir. 1973) .................................................................................. 22
United States v. Julian,
 974 F. Supp. 809 (M.D. Pa. 1997) ...................................................................... 14, 19
United States v. Marzzarella,
 614 F.3d 85 (3d Cir. 2010)............................................................................ 7, 8, 9, 10
United States v. Rehlander,
 666 F.3d 45 (1st Cir. 2012)....................................................................................... 22
United States v. Salerno,
 481 U.S. 739 (1987) .................................................................................................. 11
United States v. Skoien,
 614 F.3d 638 (7th Cir. 2010) ........................................................................ 11, 13, 16
United States v. Staten,
 666 F.3d 154 (4th Cir. 2011) .................................................................................... 16
United States v. Vongxay,
 594 F.3d 1111 (9th Cir. 2010) .................................................................................... 9
United States v. Waters,
 23 F.3d 29 (2d Cir. 1994).......................................................................................... 15
United States v. Yancey,
 621 F.3d 681 (7th Cir. 2010) ...................................................................................... 9
Washington v. Glucksberg,
 521 U.S. 702 (1997) .............................................................................................. 1, 12
Weinberger v. Romero-Barcelo,
 456 U.S. 305 (1982) .................................................................................................. 24
Weinberger v. Salfi,
 422 U.S. 749 (1975) .................................................................................................. 14

STATUTES

18 U.S.C. § 922 ............................................................................................................. 30
18 U.S.C. § 922(d)(4) ...................................................................................................... 5
18 U.S.C. § 922(g)(4) ............................................................................................ passim
18 U.S.C. § 922(g)(8) .................................................................................................... 28
50 P.S. § 7302 ............................................................................................................... 43
50 P.S. §§ 7101-7503 ...................................................................................................... 6




                                                               iv
         Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 7 of 33



                                 INTRODUCTION

      Federal law prohibits an individual who “has been committed to a mental

institution” from possessing a firearm. 18 U.S.C. § 922(g)(4). Plaintiff Brandon

Wilborn contends that the government should be enjoined from enforcing this

statute against him because this restriction violates his Second Amendment and

due process rights. The Court should reject these arguments.

      As explained in District of Columbia v. Heller, the Second Amendment

permits the “longstanding prohibition[] on the possession of firearms by . . . the

mentally ill.” 554 U.S. 570, 626 (2008). Moreover, § 922(g)(4)’s restrictions readily

satisfy the intermediate scrutiny test applied by the Third Circuit. Such scrutiny

requires the government to demonstrate that a regulation is substantially related to

the furtherance of an important government interest. Here, Congress enacted

Section 922(g)(4) to further the important governmental interest in preventing

“firearms deaths caused by persons who are not criminals, but who commit sudden,

unpremeditated crimes with firearms as a result of mental disturbances.” 114 Cong.

Rec. 21,829 (1968) (statement of Rep. Bingham). The Supreme Court has long

recognized the government’s “legitimate and compelling” interest “in protecting the

community from crime,” Schall v. Martin, 467 U.S. 253, 264 (1984), and its

“unquestionably important and legitimate” interest in suicide prevention.

Washington v. Glucksberg, 521 U.S. 702, 735 (1997).

      Permanently disarming Wilborn, who was involuntarily committed pursuant

to Section 302 of Pennsylvania’s Mental Health Procedures Act is at the very least



                                           1
              Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 8 of 33



     “substantially related” to those interests. Wilborn’s position here rests primarily on

     a recent district court decision from the Western District of Pennsylvania, Franklin

     v. Sessions, 291 F. Supp. 3d 705 (W.D. Pa. 2017). However, the court in Franklin

     explicitly declined to hold – as Wilborn urges this Court to do – that a Section 302

     commitment may never qualify as an involuntary commitment under Section

     922(g)(4). Id. at 720. Accordingly, Wilborn’s Second Amendment challenge is

     unlikely to succeed on the merits and it thus does not entitle him to injunctive

     relief. Likewise, Wilborn’s claim under the Due Process Clause does not provide any

     basis for a preliminary injunction.

                                       BACKGROUND

I.         Statutory Background

           Federal law includes “longstanding prohibitions on the possession of firearms

     by felons and the mentally ill.” Heller, 554 U.S. at 626. As relevant here, the Gun

     Control Act of 1968 (GCA) provides that any person who “has been committed to a

     mental institution” may not possess firearms and ammunition. 18 U.S.C.

     § 922(g)(4). The Congressional record on the GCA demonstrates the important

     governmental interest that motivated its passage: preventing violence, murder, and

     suicide. See 114 Cong. Rec. 21,774 (1968) (Rep. Rosenthal) (“In 1966, 6,855

     Americans were murdered by gun; 10,407 suicides and 2,600 fatal accidents

     involved firearms.”); id. at 21,811 (Rep. Schwengel) (stating that “[i]n the last

     decade, 92,747 Americans took their own lives with a firearm.”); id. at 21,784 (Rep.

     Celler) (“It is not only deliberate murder, robbery and assault which this legislation



                                                2
         Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 9 of 33



seeks to reduce, but also acts of passion, and gun suicides which have grown to

11,000 in 1967.”).

       The legislative record further reflects the substantially related means

Congress adopted to achieve that purpose: barring from possessing firearms

individuals who have a demonstrated history of mental illness. See, e.g., Federal

Firearms Legislation: Hearings Before the Subcomm. to Investigate Juvenile

Delinquency of the S. Comm. on the Judiciary, 90th Cong. 92 (1968) (statement of

New York City Mayor John V. Lindsay) (testifying that despite “enact[ing]

legislation designed to keep guns out of the hands of those likely to use them

irresponsibly[,] . . . such as [inter alia,] the mentally ill,” local officials could not

prevent such persons from misusing firearms because, “[a]s long as the escaped

criminal, or mental patient, or addict can obtain a firearm by crossing a bridge or

mailing an order, no State or local government can protect its residents adequately,

and that pertains to all types of firearms”); Juvenile Delinquency: Hearings Before

the Subcomm. to Investigate Juvenile Delinquency of the S. Comm. on the Judiciary,

88th Cong. 3375 (1963) (statement of James Bennett, Director, U.S. Bureau of

Prisons) (citing an incident involving a mentally ill individual who had bought a

firearm “and used it to kill a high school student”); 114 Cong. Rec. 21,784 (1968)

(Rep. Celler) (then-Chairman of the House Judiciary Committee stating that “[n]o

one can dispute the need to prevent [inter alia,] persons with a history of mental

disturbances . . . from buying, owning, or possessing firearms. This bill seeks to

maximize the possibility of keeping firearms out of the hands of such persons”); id.



                                              3
              Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 10 of 33



      at 21,819 (Rep. Halpern) (stressing that “the manic depressive contemplating

      suicide will find it more difficult to take his own life, or that of a friend or relative”).

             In sum, Congress sought to address these problems by “regulat[ing] more

      effectively interstate commerce in firearms so as to reduce the likelihood that they

      fall into the hands of the lawless or those who might misuse them.” S. Rep. No. 89-

      1866, at 1 (1966). “[P]ersons who are not criminals, but who commit sudden,

      unpremeditated crimes with firearms as a result of mental disturbances,” 114 Cong.

      Rec. at 21,829 (Rep. Bingham), were among those whose access to firearms

      concerned Congress. Congress thus included in the GCA statutory provisions—now

      codified at 18 U.S.C. § 922(d)(4) and (g)(4)—restrictions directed at “persons with a

      history of mental disturbances,” 114 Cong. Rec. at 21,784 (Rep Celler).

II.          Factual and Procedural Background

             On or about April 7, 2003, plaintiff Brandon Wilborn was involuntarily

      committed to a mental institution pursuant to Section 302 of Pennsylvania’s Mental

      Health Procedures Act (MHPA), 50 Pa.C.S.A. §§ 7101-7503; Compl. ¶ 17. 1 Section

      302 provides for involuntary emergency examinations and treatment authorized by

      a physician, not to exceed 120 hours, where there exist “reasonable grounds to

      believe a person is severely mentally disabled and in need of immediate treatment.”

      Id. at § 7302. The complaint provides no background or detail, regarding the events

      leading up to Wilborn’s involuntary commitment. Wilborn was involuntarily




      1For the purposes of this memorandum, the factual background is derived from
      Wilborn’s complaint and brief in support of his motion for preliminary injunction.

                                                   4
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 11 of 33



committed and treated for approximately 72 hours. Pl. Br. in Supp. of Mot. for

Prelim. Inj. (Docket No. 2), 2.

      In May 2018, Wilborn attempted to purchase a firearm. Compl. ¶ 20.

Wilborn’s attempt to purchase a firearm was denied by the National Instant

Criminal Background Check System (NICS), the federal database that identifies

individuals who are prohibited from acquiring firearms. Id. Wilborn’s appeal of the

denial by NICS was unsuccessful. Id. at ¶ 21. On May 8, 2018, Wilborn received a

letter from the NICS section of the FBI, which stated, in part, that his purchase of a

firearm was prohibited “under Title 18, United States Code, Section 922(g)(4): ‘A

person who has been adjudicated as a mental defective or who has been committed

to a mental institution.’” Compl., Exhibit A.

      Wilborn filed this lawsuit on August 23, 2018. The complaint alleges two

counts. First, Wilborn alleges that the defendants’ application of Section 925A of the

GCA deprived him of his Second Amendment right to own firearms. Id. at ¶¶ 36-42.

Second, Wilborn alleges that defendants “violated [his] Fifth Amendment right to

due process by denying him the ability to purchase and possess a firearm, as a

result of his involuntary evaluation and treatment, when Section 302 of the MPHA

fails to provide the individual with an opportunity to be heard by a court, either

before or subsequent to his/her deprivation, and no federally acceptable standard of

proof was utilized.” Id. at ¶ 46.




                                          5
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 12 of 33



      In addition to the filing of his complaint, Wilborn also filed a motion for a

preliminary injunction (Docket No. 2). 2 In his motion, Wilborn seeks to enjoin the

defendants from enforcing 18 U.S.C. 922(g)(4) against all individuals who, like

Wilborn, have been involuntarily committed under Section 302 of Pennsylvania’s

Mental Health Procedures Act.

                                LEGAL STANDARD

      A preliminary injunction is an “‘extraordinary remedy’” that “‘should be

granted only in limited circumstances.’” Kos Pharms. Inc. v. Andrx Corp., 369 F.3d

700, 708 (3d Cir. 2004); Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d

797, 800 (3d Cir. 1989). To demonstrate entitlement to this extraordinary remedy, a

plaintiff must show: “(1) a likelihood of success on the merits; (2) that [he] will

suffer irreparable harm if the injunction is denied; (3) that granting preliminary

relief will not result in even greater harm to the nonmoving party; and (4) that the

public interest favors such relief.” Kos Pharms. Inc., 369 F.3d at 708. Unless

Wilborn meets his burden of establishing each of these elements in his favor, “the

grant of a preliminary injunction is inappropriate.” Del. Valley Fin. Group, Inc. v.

Principal Life Ins. Co., 640 F. Supp. 2d 603, 616 (E.D. Pa. 2009).




2Defendants have not yet responded to Wilborn’s complaint. Oral argument on the
motion for preliminary injunction is scheduled for December 6, 2018.

                                            6
             Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 13 of 33



                                         ARGUMENT

I.         Wilborn Is Not Likely to Succeed on the Merits of His Second
           Amendment Claim against the Federal Defendants

           The Second Amendment permits regulation of the possession of firearms by

     persons with a demonstrated history of mental illness. In Heller, after determining

     that the Second Amendment conferred an individual right to keep and bear arms,

     554 U.S. at 595, the Supreme Court squarely held that “nothing in our opinion

     should be taken to cast doubt on longstanding prohibitions on the possession of

     firearms by felons and the mentally ill.” Id. at 626.

           Applying Heller, the Third Circuit established a two-pronged approach for

     courts in this Circuit to apply when analyzing Second Amendment challenges:

           First, we ask whether the challenged law imposes a burden on conduct
           falling within the scope of the Second Amendment’s guarantee. If it
           does not, our inquiry is complete. If it does, we evaluate the law under
           some form of means-end scrutiny. If the law passes muster under that
           standard, it is constitutional. If it fails, it is invalid.

     United States v. Marzzarella, 614 F.3d 85, 89 (3d Cir. 2010) (citation omitted). The

     Third Circuit recently confirmed that in this Circuit “the two-step Marzzarella

     framework controls all Second Amendment challenges.” Binderup v. Att’y Gen. of

     the U.S., 836 F.3d 336, 356 (3d Cir. 2016) (en banc) cert. denied sub nom. Sessions v.

     Binderup, No. 16-847, 2017 WL 2722469 (U.S. Jun. 26, 2017), and cert. denied sub

     nom. Binderup v. Sessions, No. 16-983, 2017 WL 2722471 (U.S. Jun. 26, 2017).

     Applying that standard, Wilborn is unlikely to succeed on the merits of his Second

     Amendment claim because: (1) Section 922(g)(4) affects conduct that falls outside

     the scope of the Second Amendment’s protection; and (2) in any event, Section

                                                7
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 14 of 33



922(g)(4) as applied to Wilborn passes muster under the appropriate level of

constitutional scrutiny.

      A.     The Second Amendment does not guarantee possession of firearms to
             persons with a demonstrated history of mental illness and Section
             922(g)(4) does not burden conduct protected by the Second Amendment

      In Heller, the Supreme Court explicitly held that the Second Amendment

permits “longstanding prohibitions on the possession of firearms by felons and the

mentally ill,” and explained that “nothing in [its] opinion should be taken to cast

doubt on” such measures. Id. at 626. The Court “repeat[ed] those assurances” in

McDonald v. City of Chicago. 561 U.S. 742, 786 (2010) (plurality opinion). In this

vein, the Third Circuit has interpreted Heller as “delineat[ing] some of the

boundaries of the Second Amendment right to bear arms,” and has concluded on

that basis that “the Second Amendment affords no protection for . . . possession by

felons and the mentally ill.” Marzzarella, 614 F.3d at 92 (footnote and citation

omitted); see also id. at 91–92 (noting that Heller’s “endorsement of prohibitions as

opposed to regulations, whose validity would turn on the presence or absence of

certain circumstances, suggests felons and the mentally ill are disqualified from

exercising their Second Amendment rights”). Thus, under Heller and Marzzarella,

Section 922(g)(4) permissibly prohibits firearm possession by individuals, like

Wilborn, who have “been committed to a mental institution.” 18 U.S.C. § 922(g)(4).

      The historical record confirms this result. The Court in Heller recognized as

“the predecessor to our Second Amendment,” 554 U.S. at 593, the right to arms in

the 1689 English Declaration of Rights, which was understood to be consistent with



                                          8
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 15 of 33



the disarmament of “any person or persons” judged “dangerous to the Peace of the

Kingdome” under the 1662 Militia Act, 13 & 14 Car. 2, c. 3, § 1 (1662) (Eng.). 3 See

Joyce Lee Malcolm, To Keep and Bear Arms 123 (1st ed. 1994). In the American

colonies, disarmament of individuals perceived to be dangerous also was frequent,

and such actions were not viewed as inconsistent with the right to bear arms. See

id. at 140–41; see also United States v. Yancey, 621 F.3d 681, 684–85 (7th Cir. 2010);

United States v. Vongxay, 594 F.3d 1111, 1118 (9th Cir. 2010).

      Another “Second Amendment precursor[]” identified by Heller as “highly

influential,” 554 U.S. at 603–04, was a proposal offered by the Pennsylvania

antifederalist faction at the Pennsylvania Convention, providing that “the people

have a right to bear arms for the defense of themselves and their own state or the

United States, or for the purpose of killing game; and no law shall be passed for

disarming the people or any of them, unless for crimes committed, or real danger of

public injury from individuals.” The Address and Reasons of Dissent of the Minority

of the Convention of the State of Pennsylvania to Their Constituents, 1787, reprinted

in 2 Bernard Schwartz, The Bill of Rights: A Documentary History 665 (1971).

Samuel Adams’ proposal at the ratifying convention in Massachusetts—also

identified by Heller as a “highly influential” “Second Amendment precursor[],” 554

U.S. at 603–04—recommended “that the said Constitution be never construed to

authorize Congress to . . . prevent the people of the United States, who are




3Upon the Court’s request, the defendants will submit copies of any of the cited
historical reference materials, as well as copies of the empirical studies cited herein.

                                           9
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 16 of 33



peaceable citizens, from keeping their own arms.” Schwartz, The Bill of Rights, at

674–75, 681. The colonial public did not view persons with a history of mental

disturbance as being among those who could bears arms without “real danger of

public injury.” Id. at 665.

      Wilborn falls within a category of individuals whose possession of firearms

may be regulated without offending the Second Amendment. Because persons

previously involuntarily committed for reasons of prior mental illness are

“disqualified from exercising their Second Amendment rights,” “the Second

Amendment affords no protection” for firearms possession by such persons.

Marzzarella, 614 F.3d at 91–92 (footnote and citation omitted). Accordingly,

Wilborn’s claim fails the first prong of the Marzzarella inquiry because Section

922(g)(4) does not “impose[] a burden on conduct falling within the scope of the

Second Amendment’s guarantee.” Id. at 89. Accordingly, Wilborn is unlikely to

succeed on the merits of his Second Amendment claim.

      B.     Section 922(g)(4) also satisfies scrutiny under controlling precedent

      Even if the Court were to reject the analysis above, Wilborn’s claim would

still be unlikely to success on the merits under the second step of the two-pronged

approach established by Marzzarella. If a challenged law “burden[s] . . . conduct

falling within the scope of the Second Amendment’s guarantee,” the Court must

“evaluate the law under some form of means-end scrutiny” and “[i]f the law passes

muster under that standard, it is constitutional.” Marzzarella, 614 F.3d at 89.

Intermediate scrutiny applies to Second Amendment challenges to firearms



                                         10
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 17 of 33



restrictions. See Binderup, 836 F.3d at 353, 356 (Ambro, J.); see also id. at 397

(Fuentes, J., dissenting). To satisfy intermediate scrutiny, “a statutory classification

must be substantially related to an important governmental objective.” Clark v.

Jeter, 486 U.S. 456, 461 (1988). When analyzed under that standard, Section

922(g)(4)’s restriction on firearms possession substantially relates to the

important—indeed, compelling—government interest in protecting the public

(including the committed individual) from firearms violence.

             1.     Section 922(g)(4) serves important and compelling government
                    interests

      A primary governmental objective underlying Section 922(g)(4) is to protect

the public from “armed mayhem” in the form of firearms violence, and thereby to

preserve peace and public safety. United States v. Skoien, 614 F.3d 638, 642 (7th

Cir. 2010) (en banc). Protecting public safety and combating crime are well-

established compelling governmental interests. See United States v. Salerno, 481

U.S. 739, 748 (1987) (noting that the Supreme Court has “repeatedly held that the

Government’s regulatory interest in community safety can, in appropriate

circumstances, outweigh an individual’s liberty interest”); Schall, 467 U.S. at 264

(“The legitimate and compelling state interest in protecting the community from

crime cannot be doubted.” (citation and internal quotations omitted)).

      In order to “cut down or eliminate firearms deaths caused by persons who are

not criminals, but who commit sudden, unpremeditated crimes with firearms as a

result of mental disturbances,” 114 Cong. Rec. 21,829 (statement of Rep. Bingham),

Congress addressed the GCA to “individuals who by their previous conduct or

                                          11
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 18 of 33



mental condition or irresponsibility have shown themselves incapable of handling a

dangerous weapon in the midst of an open society,” id. at 21,809-10 (statement of

Rep. Tenzer), including “persons with a history of mental disturbances,” id. at

21,784 (statement of Rep. Celler). The government’s interest “in protecting the

community from crime” is “legitimate and compelling,” Schall, 467 U.S. at 264, as is

its interest in preventing suicide. See Glucksberg, 521 U.S. at 735 (recognizing the

government’s interest in suicide prevention as “unquestionably important and

legitimate”); Tyler v. Hillsdale Cty. Sheriff’s Dep’t, 837 F.3d 678, 693 (6th Cir. 2016)

(en banc).

             2.     Section 922(g)(4) substantially relates to protecting public safety

      A substantial relationship exists between protecting public safety (e.g., by

preventing violent crime and suicide), on the one hand, and prohibiting firearms

possession by persons, such as Wilborn, who have been involuntarily committed

based on findings of severe mental disability. Congress’s decision to adopt a

prophylactic prohibition against the “presumptively risky” category of individuals

who have been involuntarily committed, Dickerson v. New Banner Inst., 460 U.S.

103, 112 n.6 (1983), was a justifiable response to the problem of firearms violence

that it sought to address. “When reviewing the constitutionality of statutes, courts

‘accord substantial deference to the legislature’s predictive judgments.’” Drake v.

Filko, 724 F.3d 426, 436-37 (3d Cir. 2013) (quoting Turner Broad. Sys., Inc. v. FCC,

520 U.S. 180, 195 (1997)). Moreover, even if the historical understanding were not

dispositive of this case, that historical record would counsel in favor of affording



                                           12
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 19 of 33



Congress the room, in the context of mental illness, “to make sensitive public policy

judgments (within constitutional limits) concerning the dangers in carrying

firearms and the manner to combat those risks.” Kachalsky v. Cty. of Westchester,

701 F.3d 81, 97 (2d Cir. 2012) (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S.

622, 665 (1994)). See supra Sec. I.A; Skoien, 614 F.3d at 641 (noting that “Congress

is not limited to case-by-case exclusions of persons who have been shown to be

untrustworthy with weapons” and that “some categorical disqualifications are

permissible”).

      Congress sought to limit firearm availability “to those whose possession

thereof was contrary to the public interest.” Huddleston v. United States, 415 U.S.

814, 824 (1974). The “animating interest of § 922(g) ‘was to keep firearms out of the

hands of presumptively risky people.’” Tyler, 837 F.3d at 693 (quoting Dickerson,

460 U.S. 103, 112 n.6); see also Barrett v. United States, 423 U.S. 212, 220 (1976)

(citing legislative history reflecting a concern with “keeping firearms out of the

hands of categories of potentially irresponsible persons”). Consistent with this

intent to keep firearms out of the hands of presumptively risky persons, Section

922(g) is not limited to persons who have already committed dangerous or violent

acts. In the case of Section 922(g)(4), Congress relied on a history of involuntary

commitment or adjudicated mental illness as the basis for the prophylactic firearm

prohibition in the hope of preventing violent acts. See 114 Cong. Rec. 14,773 (1968)

(Sen. Long) (stating that mentally ill individuals, “by their actions, have

demonstrated that they are dangerous, or that they may become dangerous”



                                          13
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 20 of 33



(emphasis added)). In enacting Section 922(g)(4), Congress certainly was aware that

“a person committed to a mental institution later may be deemed cured and

released”; nevertheless, “[t]he past . . . commitment disqualifies. Congress obviously

felt that such a person [who had previously been committed to a mental institution],

though unfortunate, was too much of a risk to be allowed firearms privileges.”

United States v. Julian, 974 F. Supp. 809, 814-15 (M.D. Pa. 1997) (citation omitted).

      Congress acted logically in relying on impartial criteria as a proxy for future

risk of violence as an alternative to crafting a regime mandating individualized

predictions of future violence. 4 Such individualized predictions, in addition to being

inherently speculative, would impose extraordinarily difficult, if not impossible,

burdens on government officials. To avoid such a regime, Congress was entitled to

adopt a statutory scheme that instead relied on objective, historical data. See

Weinberger v. Salfi, 422 U.S. 749, 751 (1975) (“Congress . . . could rationally have

concluded . . . that the expense and other difficulties of individual determinations

justified the inherent imprecision of an objective, easily administered, prophylactic

rule.”); see also United States v. Chamberlain, 159 F.3d 656, 664 (1st Cir. 1998) (“To

require a full-scale adversary proceeding and a finding, by clear and convincing


4 Indeed, this is not an inquiry courts are well suited to conduct. As the Third
Circuit has explained in the Section 922(g)(1) context, “courts possess neither the
resources to conduct the requisite investigations nor the expertise to predict
accurately which felons may carry guns without threatening the public’s safety.”
Pontarelli v. U.S. Dep’t of Treasury, 285 F.3d 216, 231 (3d Cir. 2002) (en banc); see
also United States v. Bean, 537 U.S. 71, 77 (2002) (noting that courts are not
“institutionally equipped” to conduct “neutral, wide-ranging investigation” into
whether a person dispossessed under Section 922(g) is likely to act in a manner
dangerous to public safety).

                                          14
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 21 of 33



evidence, that a person is mentally ill and poses a likelihood of harm to himself or

others before giving effect to the firearms ban would undermine Congress’s

judgment that risk or potential, not likelihood, probability, or certainty, of violence

is all that is required.”). As the Supreme Court has recognized, there is an inherent

difficulty in making such free floating and particularized assessments of

dangerousness. Estelle v. Smith, 451 U.S. 454, 472 (1981).

       Congress determined that persons who have previously been involuntarily

committed pose an unacceptable risk of misusing firearms because they are

susceptible to future episodes of mental illness. Indeed, the GCA “is designed to

prohibit the ownership of firearms not only by individuals who have already

committed dangerous acts, but also by those with a potential for violence.” United

States v. Waters, 23 F.3d 29, 34 (2d Cir. 1994) (emphasis added). To achieve that

purpose, Congress relied on the serious step and objective fact of past commitment

due to mental illness. This clearly satisfies intermediate scrutiny, which does not

require that the degree of fit between the challenged law and the governmental

interest it serves be perfect. Drake, 724 F.3d at 436.

      Empirical evidence further demonstrates that persons who have been

involuntarily committed pose an enhanced risk of violence. 5 Research suggests that



5 The defendants have no additional obligation to produce concrete evidence in
support of Congress’s legislative judgment, and the Court need not consider such
evidence to analyze Section 922(g)(4) as applied to Wilborn. See Fla. Bar v. Went
For It, Inc., 515 U.S. 618, 628 (1995) (noting that even under strict scrutiny, some
restrictions on speech can be upheld “based solely on history, consensus, and ‘simple
common sense.’”). However, such evidence is provided here to the extent it is helpful


                                           15
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 22 of 33



persons who suffer from significant mental illness pose an increased risk of harm to

themselves or others. See, e.g., Seena Fazel & Martin Grann, The Population Impact

of Severe Mental Illness on Violent Crime, 163 Am. J. Psychiatry 1397, 1401 (2006)

(reporting increased risk “in patients with severe mental illness compared with the

general population”). A National Institute of Mental Health (NIMH) study showed

that patients with serious mental illness “were two to three times as likely as

people without such an illness to be assaultive. In absolute terms, the lifetime

prevalence of violence among people with serious mental illness was 16% . . .

compared with 7% among people without mental illness.” Richard A. Friedman,

Violence and Mental Illness- How Strong Is the Link?, 355 New Eng. J. Med. 2064,

2065 (2006).

      Persons with mental illness also have a significantly increased risk of suicide.

The NIMH reports that over 90 percent of persons who commit suicide have a

mental disorder, a substance-abuse disorder, or both. NIMH, Suicide in the U.S.:

Statistics and Prevention. The suicide rate for persons with active psychiatric

disorders is 7 to 10 times the rate for the general population. See Bryan L. Tanney,

Psychiatric Diagnoses and Suicidal Acts, in Ronald W. Maris et al., Comprehensive

Textbook of Suicidology 340 (2000). Consistently, a high suicide rate exists among

persons who have previously been committed. See Virginia A. Hiday, Civil

Commitment: A Review of Empirical Research, 6 Behav. Sci. & L. 15, 25 (1988)



for the Court’s analysis. See, e.g., United States v. Staten, 666 F.3d 154, 163–67 (4th
Cir. 2011) (relying on empirical data in conducting Second Amendment means-end
analysis); Skoien, 614 F.3d at 643–44 (same).

                                          16
          Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 23 of 33



(among 189 patients who entered the commitment process, ten had committed

suicide within 19 months). And, not surprisingly, firearms are much more likely to

cause injury or death than other available weapons, such as knives. As one

commentator has noted, “[a] suicide attempt with a firearm rarely affords a second

chance,” while “[a]ttempts involving drugs or cutting, which account for more than

90% of all suicidal acts, prove fatal far less often.” Matthew Miller & David

Hemenway, Guns and Suicide in the United States, 359 New Eng. J. Med. 989, 990

(2008).

      For all these reasons, Wilborn’s commitment to a mental institution based on

a conclusion that he was severely mentally disabled defeats any claim that Section

922(g)(4) is not substantially related to preventing future violent crime or suicide.

This outcome reflects Congress’s and the nation’s long-established judgment that

such a person is “too much of a risk to be allowed firearms privileges.” Dickerson,

460 U.S. at 116. Even were this Court to conclude that Wilborn can now possess

firearms without risk of danger, it would not affect the requisite fit between

Section 922(g)(4) and Congress’s objectives. As the Fourth Circuit recognized when

rejecting an as-applied Second Amendment challenge to the analogous 18 U.S.C.

§ 922(g)(8) restriction (prohibiting possession of firearms by an individual who is

the subject of a judicial restraining order): “[T]he prohibitory net cast by [the

statute] may be somewhat over-inclusive given that not every person who falls

within it would misuse a firearm . . . if permitted to possess one,” but “[t]his point

does not undermine the [statute’s] constitutionality . . . because it merely suggests



                                           17
              Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 24 of 33



      that the fit is not a perfect one[.]” United States v. Chapman, 666 F.3d 220, 231 (4th

      Cir. 2012) (citations omitted).

            In sum, the Section 922(g)(4) restriction substantially relates to the

      government’s objectives of preventing firearms violence, including suicide, and

      protecting public safety. As such, Wilborn is extremely unlikely to succeed on the

      merits of his Second Amendment claim.

II.         Wilborn Is Not Likely to Succeed on the Merits of His Fifth
            Amendment Due Process Claim

            Because Wilborn will be unable to show that his Second Amendment rights

      have been violated, he is not likely to succeed on the merits of a due process claim

      premised on the deprivation of these substantive rights. Moreover, Wilborn’s claim

      that he was deprived of his Second Amendment rights without due process

      protections when he was committed pursuant to Section 302 of the MHPA is

      unlikely to succeed on the merits. See Bell v. United States, No. 13-5533, 2013 WL

      5763219, at *3 (E.D. Pa. Oct. 24, 2013), aff’d, 574 F. App’x 59 (3d Cir. 2014).

            In Bell, the Third Circuit rejected a procedural due process challenge to 18

      U.S.C. § 922)(g)(1) – which prohibits firearms possession by felons – and

      “conclude[d], for the reasons stated by the District Court, that [the plaintiff]’s

      procedural due process claim . . . [is] without merit.” Bell, 574 F. App’x at 61. The

      plaintiff there claimed that Section 922(g)(1) violated due process because the

      statute had allegedly “deprive[d] [plaintiff] of the ability to possess a firearm

      without providing him a hearing to determine his future dangerousness.” Bell, 2013

      WL 5763219, at *3 (citation omitted). As the court explained, “[t]he plain language

                                                 18
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 25 of 33



of [that statute] makes clear Congress’s decision to bar all convicted felons (not

merely those with violent tendencies or who otherwise present an ongoing danger to

society) from possessing firearms.” Id. (quoting Black v. Snow, 272 F. Supp. 2d 21,

34 (D.D.C. 2003), aff’d, 110 F. App’x 130 (D.C. Cir. 2004)). Consequently, the court

held that the plaintiff’s procedural due process claim failed: “[D]ue process does not

entitle [a felon] to a hearing to determine whether he is currently dangerous

because the results of such a hearing would have no bearing on whether he is

subject to the disability imposed by § 922(g)(1).” Id. (second alteration in original)

(quoting Black, 272 F. Supp. 2d at 35).

      Because the same is true with respect to Section 922(g)(4), the same result

follows. See Keyes v. Lynch, 195 F. Supp. 3d 702, 723 (M.D. Pa. 2016) (applying the

logic of Bell to reject the plaintiff’s “contention that he deserved some kind of

hearing before or after being subjected to the disability under § 922(g)(4)”). In

enacting Section 922(g)(4), Congress was aware that “a person committed to a

mental institution later may be deemed cured and released[;]” nevertheless, “[t]he

past . . . commitment disqualifies. Congress obviously felt that such a person [who

had previously been adjudicated as a mental defective or committed to a mental

institution], though unfortunate, was too much of a risk to be allowed firearms

privileges.” Julian, 974 F. Supp. at 814–15 (quoting Dickerson, 460 U.S. at 116–17).

      Due process principles do not require that Wilborn be afforded “an

opportunity to be heard by a court, either before or subsequent to his/her

deprivation.” Compl. ¶ 46. The only matter relevant to Section 922(g)(4) is whether



                                           19
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 26 of 33



Wilborn was previously committed to a mental institution. See Conn. Dep’t of Pub.

Safety v. Doe, 538 U.S. 1, 4 (2003) (“[D]ue process does not require an opportunity to

prove a fact that is not material to the State’s statutory scheme.”); Black, 272 F.

Supp. 2d at 35 (applying Doe and concluding that “due process does not entitle

plaintiff to a hearing to determine whether he is currently dangerous because the

result of such a hearing would have no bearing on whether he is subject to the

disability imposed by § 922(g)(1)”).

      In both his complaint and motion for preliminary injunction, Wilborn urges

the Court to find that an involuntarily commitment pursuant to Section 302 of

Pennsylvania’s Mental Health Procedures Act can never qualify as an involuntary

commitment under 18 U.S.C. § 922(g)(4). For the reasons explained above, such a

holding would be at odds with the language and legislative intent of the Gun

Control Act. Moreover, it would be inconsistent with the decisional law in this

Circuit, which has uniformly held that a Section 302 commitment may qualify as an

involuntary commitment under Section 922(g)(4). See, e.g., Simpson v. Sessions, No.

16-1334, 2017 WL 1910141, at *1 (E.D. Pa. May 10, 2017) (Schmehl, J.).

      In Simpson, the plaintiff (Simpson) had an argument with his wife and was

involuntary committed – pursuant to Section 302 – after threatening suicide. Id. at

**1, 5. Simpson later successfully sought relief of his Pennsylvania firearm

disability and unsuccessfully sought to expunge the record of his involuntary

commitment. Id. The Court rejected Simpson’s Second Amendment challenge to

Section 922(g)(4), finding that – despite Simpson’s claims of rehabilitation and



                                          20
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 27 of 33



experience with firearms – his past behavior resulting in involuntary commitment

“directly refutes Plaintiff’s claimed ‘lack of dangerousness.’” Id. at *6. See also,

Jeffries v. Sessions, 278 F. Supp. 3d 831, 847 (E.D. Pa. 2017) (dismissing plaintiff’s

Second Amendment challenge because Jeffries “fail[ed] to distinguish his

involuntary commitment for being a danger to himself from the class of individuals

Congress prohibited” and failed to state a claim for a Fifth Amendment violation

because he “is not constitutionally entitled to process before the United States

subjects him to the prohibition under § 922(g)(4)”).

      Wilborn relies extensively on a recent district court decision from the

Western District of Pennsylvania, Franklin v. Sessions, 291 F. Supp. 3d 705 (W.D.

Pa. 2017). See, e.g., Compl. ¶¶ 3, 19, 24, 26, 35, 40, 41; Pl. Br. in Supp. of Mot. for

Prelim. Inj., 1-3, 6, 16-18. Wilborn mischaracterizes that case, stating that the court

there held a “302 examination and treatment does not trigger a prohibition under

18 U.S.C. § 922(g)(4).” Compl. ¶ 40. Wilborn suggests that the court in Franklin

adopted the categorical rule for which he advocates in this case. However, the court

in Franklin made no such sweeping holding. 6 Rather, after a period of discovery and

extensive fact-finding, the court held that “Section 302 of the MHPA as applied to

Mr. Franklin [did] not constitute an adjudication that Mr. Frankin is ‘a mental

defective’ or a ‘commit[ment] to a mental institution – therein not implicating


6Counsel for the plaintiff in Franklin – who also represents Wilborn here – raised
the same argument in that case, that “Section 302 is legally insufficient to
putatively strip an individual” of the right to purchase firearms under federal law.
Pl. Mot. for S.J. at 16, Docket No. 37, Franklin v. Boente, Civ. No. 16-36 (W.D. Pa.
March 2, 2017). As noted above, the court declined to adopt that position.

                                            21
         Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 28 of 33



Section 922(g)(4)’s firearms restrictions. . . .” Franklin, 291 F. Supp. 3d at 719-20.

The court in Franklin explicitly declined to reach the broader issue of whether a

Section 302 commitment may never qualify as an involuntary commitment under

Section 922(g)(4). Id. at 720. 7

       Here, Wilborn concedes that he has previously been involuntarily committed.

Compl. ¶¶ 23-25. Consistent with all the decisional law in this circuit, that

involuntary commitment forms a proper basis for a firearms prohibition under

Section 922(g)(4). Consequently, Wilborn’s Fifth Amendment Due Process claim is

likely to fail.

III.   Wilborn Cannot Demonstrate a Likelihood of Irreparable Harm

       A party seeking a preliminary injunction must establish that it is likely to

suffer irreparable injury in the absence of the requested relief. Liberty Lincoln-

Mercury, Inc. v. Ford Motor Co., 562 F.3d 553, 557 (3d Cir. 2009) (quoting Novartis

Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm. Co., 290

F.3d 578, 595 (3d Cir. 2002)). The threat of irreparable injury must be “real,”

“substantial,” and “immediate,” not speculative or conjectural. City of L.A. v. Lyons,

461 U.S. 95, 111 (1983). Accordingly, courts may not grant preliminary injunctions

“‘unless the moving party shows that it specifically and personally risks irreparable


7 Wilborn also relies on a number of cases arising out of criminal convictions for
illegal possession of firearms. These cases include United States v. Rehlander, 666
F.3d 45 (1st Cir. 2012), United States v. Giardina, 861 F.2d 1334 (5th Cir. 1988),
and United States v. Hansel, 474 F.2d 1120 (8th Cir. 1973). See Pl. Br. in Supp. of
Mot. for Prelim. Inj., 19-21. These decisions are not binding precedent for this
Court, and in any event, none of these criminal cases involves the Pennsylvania
statute at issue here.

                                           22
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 29 of 33



harm.’” Liberty Lincoln-Mercury, Inc., 562 F.3d at 557 (quoting Adams v. Freedom

Forge Corp., 204 F.3d 475, 487 (3d Cir. 2000)). Although Wilborn asks the Court to

presume that he will suffer irreparable harm because his constitutional rights have

been infringed, “injury to constitutional rights does not a priori entitle a party to a

finding of irreparable harm.” Hohe v. Casey, 868 F.2d 69, 73 (3d Cir. 1989)

(“Constitutional harm is not necessarily synonymous with the irreparable harm

necessary for issuance of a preliminary injunction.”). Nor is the Court required to

presume a violation of Wilborn’s constitutional rights, as this inquiry involves a

question of law.

      Irreparable harm may be presumed if plaintiffs are likely to succeed on the

merits, because a deprivation of constitutional rights generally constitutes

irreparable harm. Elrod v. Burns, 427 U.S. 347, 373 (1976); Ezell v. Chicago, 651

F.3d 684, 699-700 (7th Cir. 2011). But here, Wilborn’s claim of irreparable harm is

entirely dependent on the assumption that his Second Amendment challenge has

merit. Because Wilborn is unlikely to succeed on the merits, there is no justification

for a preliminary injunction. Wilborn has not established by a clear showing that he

will suffer irreparable harm in the absence of injunctive relief, so his motion should

be denied. NutraSweet Co. v. Vit-Mar Enters., Inc., 176 F.3d 151, 153 (3d Cir. 1999)

(the “failure to establish any element . . . renders a preliminary injunction

inappropriate”).




                                           23
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 30 of 33



IV.   Granting a Preliminary Injunction Would Harm Defendants, Third
      Parties, and the Public Interest

      Because Wilborn has not made the threshold showings of irreparable harm

and a likelihood of success on the merits, there is no need for the Court to proceed to

the balancing phase of the preliminary injunction analysis. However, even if the

Court were to consider the balance of equities and public interest, it should still

deny Wilborn’s motion because these factors tip sharply in favor of the defendants.

As explained above, Wilborn falls within a category of individuals whose possession

of firearms may be regulated without offending the Second Amendment. Thus, no

deprivation of Wilborn’s Second Amendment rights has occurred and he has not

been harmed. On the other hand, the public interest in protecting the public

(including the committed individual) from firearms violence is substantial. As a

general matter, “there is inherent harm to an agency” in preventing it from

enforcing statutes and regulations that “Congress found it in the public interest to

direct that [it] develop and enforce.” Cornish v. Dudas, 540 F. Supp. 2d 61, 65

(D.D.C. 2008); see also Connection Distrib. Co. v. Reno, 154 F.3d 281, 296 (6th Cir.

1998) (“[T]he granting of an injunction against the enforcement of a likely

constitutional statute would harm the government.”).

      As the Supreme Court recognized, Congress sought to limit firearm

availability “to those whose possession thereof was contrary to the public interest.”

Huddleston, 415 U.S. at 824. The legislative “intent in enacting [] § 922(g) . . . was

to keep firearms out of the hands of presumptively risky people.” Dickerson, 460

U.S. at 112 n.6; see Barrett, 423 U.S. at 220 (citing legislative history reflecting a

                                           24
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 31 of 33



concern with “keeping firearms out of the hands of categories of potentially

irresponsible persons”); see also Weinberger v. Romero-Barcelo, 456 U.S. 305, 312-13

(1982) (“[Courts] should pay particular regard for the public consequences in

employing the extraordinary remedy of injunction.”). Wilborn’s requested

preliminary injunction would prevent the government from enforcing the

prohibitions on firearm possession by individuals who have been committed to a

mental institution pursuant to Pennsylvania’s Mental Health Procedures Act, 50

Pa. C.S.A. § 7302, and, would thus inflict a very real harm on the public. 8 See Nken

v. Holder, 556 U.S. 418, 420 (2009) (consideration of harm to the opposing party and

the public interest “merge when the Government is the opposing party”). Therefore,

the requested preliminary injunction should be denied.




8 With the motion for preliminary injunction, Wilborn is seeking to alter the status
quo by enjoining enforcement. However, a “primary purpose of a preliminary
injunction is maintenance of the status quo until a decision on the merits of a case
is rendered.” Acierno v. New Castle County, 40 F.3d 645, 647 (3d Cir. 1994).

                                         25
        Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 32 of 33



                                 CONCLUSION

      For the foregoing reasons, the Court should deny Wilborn’s motion for a

preliminary injunction.

                                      Respectfully submitted,

                                      WILLIAM M. McSWAIN
                                      United States Attorney


                                      s/ Gregory B. David/srb
                                      GREGORY B. DAVID
                                      Assistant United States Attorney
                                      Chief, Civil Division


                                      s/ David A. Degnan
                                      DAVID A. DEGNAN
                                      Assistant United States Attorney
                                      615 Chestnut St., Suite 1250
                                      Philadelphia, Pennsylvania 19106
                                      (215) 861-8522
                                      david.degnan@usdoj.gov



Date: October 31, 2018




                                        26
       Case 5:18-cv-03597-JLS Document 9 Filed 10/31/18 Page 33 of 33



                         CERTIFICATE OF SERVICE

      I certify that the foregoing memorandum was filed electronically and is

available for viewing and downloading via the Court’s ECF system.




                                            s/ David A. Degnan
                                            DAVID A. DEGNAN
                                            Assistant United States Attorney



Date: October 31, 2018
